                                                     U.S. Department of Justice


                                                     United States Attorney
                                                     Eastern District of New York
AAS/RMP                                              271 Cadman Plaza East
F. #2021R00600                                       Brooklyn, New York 11201




                                                     September 24, 2024

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By Email and ECF


                Re:   United States v. Sun, et. al.
                      Criminal Docket No. 24-CR-346 (BMC)

Dear Counsel:

              This letter will be accompanied by a link, sent by separate e-mail, to the secure
download of certain discovery materials produced pursuant to Rule 16 of the Federal Rules of
Criminal Procedure. The government also requests reciprocal discovery from the defendants.
I.     The Government’s Discovery

       A.        Records Obtained During the Investigation

                 The following records were obtained by the government during the course of the
investigation:

 Bates No.                                           Description of Item

 EDNY_000001 – EDNY_008113                           Records from the New York State Executive
                                                     Chamber

 EDNY_008114 – EDNY_008237                           Records from the New York State
                                                     Commission on Ethics and Lobbying in
                                                     Government

 EDNY_008238 – EDNY_008279                           Records from the New York State
                                                     Department of Labor



       B.        Documents and Tangible Items

                The following documents were obtained by the government during the course of
the investigation:

 Bates No.                                           Description of Item

 EDNY_008280 – EDNY_008362                           Affidavit for Search Warrants (24-MJ-2841)
                                                     for Homes, Devices, and Safe Deposit Boxes

 EDNY_008363 – EDNY_008479                           Affidavit for Search Warrant (24-MC-3106)
                                                     for the business identified in the Indictment as
                                                     the “Wine Store”

 EDNY_008480 – EDNY_008592                           Affidavit for Search Warrant (24-MC-3252)
                                                     for the Wine Store’s business records



       C.        Reports of Examinations and Tests

                 The government will provide you with copies of any reports of examinations or
tests in this case as they become available.




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       D.      Expert Witnesses

                 The government will comply with Fed. R. Crim. P. 16(a)(1)(G) and Fed. R. Evid.
702, 703 and 705 and notify you in a timely fashion of any expert that the government intends to
call at trial and provide you with a summary of the expert’s opinion.

                At present, the government anticipates calling an expert at trial to testify about the
structure of the government of the People’s Republic of China (“PRC”), including its intelligence
apparatus, the Chinese Communist Party, and the United Work Front Department, as well as the
relationships between these entities, establishments of the PRC government in the United States,
and local Chinese community organizations.

              The identity, qualifications, and bases for the conclusions of each expert will be
provided to you when they become available.

       E.      Other Crimes, Wrongs or Acts

                  The government will provide the defendants with reasonable notice in advance of
trial if it intends to offer any material under Fed. R. Evid. 404(b).

II.    The Defendants’ Required Disclosures

                The government hereby requests reciprocal discovery under Rule 16(b) of the
Federal Rules of Criminal Procedure. The government requests that the defendants allow
inspection and copying of (1) any books, papers, documents, data, photographs, tapes, tangible
objects, or copies or portions thereof, that are in the defendants’ possession, custody or control,
and that the defendants intend to introduce as evidence or otherwise rely on at trial, and (2) any
results or reports of physical or mental examinations and of scientific tests or experiments made
in connection with this case, or copies thereof, that are in the defendants’ possession, custody or
control, and that the defendants intend to introduce as evidence or otherwise rely upon at trial, or
that were prepared by a witness whom the defendants intend to call at trial.

               The government also requests that the defendants disclose prior statements of
witnesses who will be called by the defendants to testify. See Fed. R. Crim. P. 26.2. In order to
avoid unnecessary delays, the government requests that the defendants have copies of those
statements available for production to the government no later than the commencement of trial.

               The government also requests that the defendants disclose a written summary of
testimony that the defendants intend to use as evidence at trial under Rules 702, 703, and 705 of
the Federal Rules of Evidence. The summary should describe the opinions of the witnesses, the
bases and reasons for the opinions, and the qualification of the witnesses.

                Pursuant to Fed. R. Crim. P. 12.3, the government hereby demands written notice
of the defendants’ intention, if any, to claim a defense of actual or believed exercise of public
authority, and also demands the names and addresses of the witnesses upon whom the defendants
intend to rely in establishing the defense identified in any such notice.


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III.   Future Discussions

                If you have any questions or requests regarding further discovery or a disposition
of this matter, please do not hesitate to contact me.

                Please be advised that, pursuant to the policy of the Office concerning plea offers
and negotiations, no plea offer is effective unless and until made in writing and signed by
authorized representatives of the Office. In particular, any discussion regarding the pretrial
disposition of a matter that is not reduced to writing and signed by authorized representatives of
the Office cannot and does not constitute a “formal offer” or a “plea offer,” as those terms are
used in Lafler v. Cooper, 132 S. Ct. 1376 (2012), and Missouri v. Frye, 132 S. Ct. 1399 (2012).

                                                     Very truly yours,

                                                     BREON PEACE
                                                     United States Attorney

                                              By:     /s/ Alexander A. Solomon
                                                     Alexander A. Solomon
                                                     Robert M. Pollack
                                                     Assistant U.S. Attorneys
                                                     (718) 254-7000

cc:    Clerk of the Court (BMC) (by ECF) (without download link)




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